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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 1:06cr26-SPM/AK

DOUGLAS KENNETH CROSS, JR.,

           Defendant.
______________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, DOUGLAS KENNETH CROSS, JR.,

to Counts One through Seven of the information is hereby ACCEPTED. All

parties shall appear before this Court for sentencing as directed.

      DONE AND ORDERED this 25th day of September, 2006.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
